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7
8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
13             v.                  )
                                   )
14   ERIC BROOKS,                  )
                                   )           Date: May 25, 2012
15                  Defendant.     )           Time: 9:00 a.m.
     ______________________________)           Hon. Garland E. Burrell, Jr.
16
17
          It is hereby stipulated by and between the United States of
18
     America through its attorneys, and defendant Eric Brooks and his
19
     attorney, that the status conference hearing set for April 20, 2012,
20
     be vacated, and a status conference hearing be set for May 25, 2012
21
     at 9:00 a.m.
22
          Mr. Brooks is also a defendant in case no. CR S 08-122 GEB.          He
23
     has entered a guilty plea in that case and the parties are
24
     requesting that sentencing be set for May 25, 2012.          Pursuant to the
25
     plea agreement entered in case 08-0122 GEB, the government
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     anticipates dismissing the charges against Mr. Brooks in case 07-571
27
     at sentencing.   However, that cannot occur until Mr. Brooks has
28
     finished completing his obligations under the plea agreement.          The

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1    parties stipulate that the ends of justice are served by the Court
2    excluding the time between April 20, 2012, and May 25, 2012, so that
3    the defendant may continue to fulfill his obligations under the plea
4    agreement in case 08-0122, which will likely result in the dismissal
5    of the pending charges in this case.          18 U.S.C. §3161(h)(1) (other
6    proceedings concerning the defendant) / Local Code C (other charges
7    pending).
8
     DATED: April 15, 2012                 /s/ Philip Ferrari for
9                                         MICHAEL HANSEN, ESQ.
                                          Attny. for Eric Brooks
10
     DATED: April 15, 2012                BENJAMIN WAGNER
11                                        United States Attorney
12
                                     By: /s/ Philip Ferrari
13                                       PHILIP A. FERRARI
14                                       Assistant U.S. Attorney

15
          IT IS ORDERED that the status conference currently set for
16
     April 20, 2012, is vacated, and a new status conference is set for
17
     May 25, 2012, at 9:00 a.m.        For the reasons stipulated to by the
18
     parties, good cause exists pursuant to 18 U.S.C. §§ 3161(h), and
19
     time is excluded under the Speedy Trial Act through May 25, 2012.
20
     For the reasons set forth in the stipulation, the interests of
21
     justice served by granting this continuance outweigh the best
22
     interests of the public and the defendants in a speedy trial.
23
24        IT IS SO ORDERED.

25   Dated:     April 16, 2012
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27                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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